Case 8:21-cv-00502-CJC-JDE Document 8 Filed 04/16/21 Page 1 of 3 Page ID #:79




 1 Matthew Borden, Esq. (SBN: 214323)
         borden@braunhagey.com
 2 David H. Kwasniewski, Esq. (SBN: 281985)
         kwasniewski@braunhagey.com
 3 BRAUNHAGEY & BORDEN LLP
     351 California Street, 10th Floor
 4 San Francisco, CA 94104
     Telephone: (415) 599-0210
 5 Facsimile: (415) 276-1808

 6 ATTORNEYS FOR DEFENDANT
     OUTDOORSY, INC.
 7

 8

 9                        UNITED STATES DISTRICT COURT
10
                        CENTRAL DISTRICT OF CALIFORNIA
11
                                  SOUTHERN DIVISION
12

13
                                                  Case No: 8:21-cv-502-CJC (JDEx)
14
   JOHN BAI, individually, and on behalf of
                                                  OUTDOORSY INC.’S NOTICE OF
15 all others similarly situated,                 MOTION AND MOTION TO
                 Plaintiff,                       COMPEL ARBITRATION
16

17         v.                                     Date: May 17, 2021
                                                  Time: 1:30 PM
18 OUTDOORSY, INC., and DOES 1-20,                Courtroom: 9B
     inclusive,
19                                                Judge: Honorable Cormac J. Carney
                  Defendant.
20

21

22

23

24

25

26

27

28

                                                       Case No. 8:21-cv-502-CJC (JDEx)
                               NOTICE OF MOTION AND MOTION
Case 8:21-cv-00502-CJC-JDE Document 8 Filed 04/16/21 Page 2 of 3 Page ID #:80




 1                           NOTICE OF MOTION AND MOTION
 2        PLEASE TAKE NOTICE that on May 17, 2021 at 1:30 p.m. or as soon
 3   thereafter as the matter may be heard before the Honorable J. Carney, in the United
 4 States District Court for the Central District of California at the Ronald Reagan

 5 Federal Building and United States Courthouse, 411 West Fourth Street, Courtroom

 6 9 B, Santa Ana, CA, 92701-4516, Defendant Outdoorsy, Inc. (“Outdoorsy”) will, and

 7 hereby does, move the Court pursuant to 9 U.S.C. § 4 for an order to compel

 8 arbitration and to stay Plaintiff’s claims pursuant to 9 U.S.C. § 3.

 9        This motion is made following the conference of counsel pursuant to L.R. 7-3
10 which took place on April 8, 2021.

11        This motion is based on this Notice of Motion and Motion, the attached
12 Memorandum of Points and Authorities, the accompanying Declaration of David

13 Kwasniewski, and the Declaration of Richard Sanders (Dkt. No. 8), and all exhibits

14 thereto, any matters of which this Court may take judicial notice, the files and

15 records in this action and on such other written and oral argument as may be

16 presented to the Court.

17

18

19 Dated: April 16, 2021                          Respectfully submitted,
20
                                                  BRAUNHAGEY & BORDEN LLP
21

22                                                By: /s/ Matthew Borden
23                                                Matthew Borden
24                                                BraunHagey & Borden LLP
                                                  351 California Street, 10th Floor
25                                                San Francisco, CA 94104
26                                                Tel. & Fax: (415) 599-0210
                                                  Attorneys for Defendant Outdoorsy, Inc.
27

28

                                           1          Case No. 8:21-cv-502-CJC (JDEx)
                              NOTICE OF MOTION AND MOTION
Case 8:21-cv-00502-CJC-JDE Document 8 Filed 04/16/21 Page 3 of 3 Page ID #:81




 1                            CERTIFICATE OF SERVICE
 2        I hereby certify that on this 16th day of April, 2021, the foregoing Notice of
 3 Motion and Motion, as well as the accompanying Memorandum of Law in support of

 4 Outdoorsy’s, Inc’s Motion to Compel Arbitration, Declaration of David

 5 Kwasniewski, Declaration of Richard Sanders, and Proposed Order were filed

 6 electronically on the CM/ECF system, which caused all CM/ECF participants to be

 7 served by electronic means.

 8        The foregoing documents were also served by mail on April 16, 2021 on all
 9 counsel or parties of record listed below.

10

11                                     Todd Friedman
12                             2150 Oxnard Street, Suite 780
13                               Woodland Hills, CA 91367
14                                     (323) 306-4234
15

16                                                            /s/ Matthew Borden
                                                               Matthew Borden
17

18

19

20

21

22

23

24

25

26

27

28

                                          2          Case No. 8:21-cv-502-CJC (JDEx)
                             NOTICE OF MOTION AND MOTION
